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 Attorney for Plaintiffs
 Definition Delaware, LLC, and
 Fallen Productions, Inc.


                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  Definition Delaware, LLC, et al.,      )   Case No.: 1:20-cv-27 KJM-NONE
                                         )   (Copyright)
                   Plaintiffs,           )
     vs.                                 )   PLAINTIFFS’ NOTICE OF
                                         )   DISMISSAL OF DEFENDANT
  Puakailima Davis,                      )   DAVIS WITHOUT PREJUDICE
                                         )
                   Defendant.            )
                                         )

                   PLAINTIFFS’ NOTICE OF DISMISSAL OF
                  DEFENDANT DAVIS WITHOUT PREJUDICE

       Plaintiffs provides notice of their voluntary dismissal under Rule 41(a) of

 Defendant Puakailima Davis without prejudice. This dismissal is pursuant to Rule

 41(a)(1)(A)(i). Plaintiffs do not seek an award of attorney’s fees and/or costs. No

 claims, including any counterclaim, cross-claim, or third-party claim, would remain

 following dismissal. No answer or motion for summary judgment has been filed.
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        DATED: Kailua-Kona, Hawaii, April 20, 2020.


                                        CULPEPPER IP, LLLC


                                        /s/ Kerry S. Culpepper
                                        Kerry S. Culpepper

                                        Attorney for Plaintiffs




 APPROVED AS TO FORM:




 Definition Delaware, LLC, et al. v. Puakailima Davis, Civil No. 20-0027 KJM; Notice of Dismissal of
 Defendant Davis without Prejudice




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